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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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IVAN ANTONYUK, et al.,

                                   Plaintiffs,

                 -against-                                             Case No. 22 Civ. 986 (GTS) (CFH)

KATHLEEN HOCHUL, et al.

                                    Defendants.
-------------------------------------------------------------------X

        Please take notice that Defendants Kathleen Hochul, Kevin P. Bruen, and Matthew J.

Doran hereby appeal to the United States Court of Appeals for the Second Circuit from the

Decision and Temporary Restraining Order entered in this action on October 6, 2022 (ECF No.

27).




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Dated: Albany, New York
       October 6, 2022
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